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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

    ABBOTT LABORATORIES,                         )
                                                 )
                Plaintiff,                       )
                                                 ) Case No. 18-6907
         v.                                      )
                                                 ) Judge Charles P. Kocoras
    BLAYNE FLECK,                                )
                                                 )
                Defendant.                       )
                                                 )


                                     NOTICE OF MOTION

        PLEASE TAKE NOTICE that on Thursday, October 18, 2018, at 9:30 a.m., or as soon

thereafter as counsel may be heard, the undersigned counsel for Plaintiff Abbott Laboratories shall

appear before the Honorable Charles P. Kocoras in Courtroom 2325 of the United States District

Court for the Northern District of Illinois, 219 South Dearborn Street, Chicago, Illinois 60604, and

present Plaintiff’s Motion for Temporary Restraining Order and Preliminary Injunction, a copy of

which was previously served on you.

Dated: October 15, 2018                              Respectfully submitted,


                                                     /s/ Ronald S. Safer
                                                     Ronald S. Safer, ARDC # 6186143
                                                     Harnaik Singh Kahlon, ARDC # 6280309
                                                     Mariangela M. Seale, ARDC # 6293433
                                                     Tal C. Chaiken, ARDC # 6308729
                                                     RILEY SAFER HOLMES & CANCILA LLP
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                                                     Attorneys for Plaintiff Abbott Laboratories
 
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                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing Notice of Motion was served on Defendant

Blayne Fleck at the address below via U.S. Mail and Federal Express, overnight delivery:

Blayne Fleck
2325 East Fifth Street
Austin, TX 78702

Dated: October 15, 2018                             /s/ Ronald S. Safer




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